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8                               UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10
                                                    Case No. 20-cr-579 (SVW)
11      UNITED STATES OF AMERICA,
                           Plaintiff,               ORDER GRANTING
12
                                                    APPLICATION FOR LEAVE TO
13                         v.                       FILE EXHIBITS TO
                                                    DECLARATION OF ASHWIN J.
14      RICHARD AYVAZYAN,                           RAM UNDER SEAL
        MARIETTA TERABELIAN,
15
        ARTUR AYVAZYAN,                              Hon. Stephen V. Wilson
16      TAMARA DADYAN,
17      et al.,                                     Current Hearing Date:    June 21, 2021
                           Defendants.              Requested Hearing Date: June 14, 2021
18
                                                    Time:                   11:00 a.m.
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             This Court, having considered defendants' Application for Leave to File Exhibits
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       to Declaration of Ashwin J. Ram Under Seal, hereby GRANTS the application and
21
       ORDERS the following relief:
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             1.     Exhibits A-D to the Declaration of Ashwin J. Ram in Support of Motion to
23
       Exclude Digital Device Files shall be filed under seal.
24
25           IT IS SO ORDERED.
26
27      Dated: May 27, 2021
                                              The Honorable Stephen V. Wilson
28                                            United States District Judge

            [PROPOSED] ORDER GRANTING APPLICATION FOR LEAVE TO FILE
                              EXHIBITS UNDER SEAL
